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U.S. DISTRICT COURT
WESTERN Ds et ARKANSAS
ILE
DEC 0 5 2008
IN THE UNITED STATES DISTRICT COURT con scSoN, ERK
WESTERN DISTRICT OF ARKANSAS yO R. ,
FORT SMITH DIVISION sect: PEPUTYCLERK

RECEIVABLES PURCHASING COMPANY, INC. PLAINTIFF
v. case NO. O8- 9/34

ENGINEERING AND PROFESSIONAL SERVICES, INC, DEFENDANT

COMPLAINT

COMES NOW, the Plaintiff, RECEIVABLES PURCHASING CO., INC., and
for its Complaint against the Defendant herein, states and alleges as follows:

1. That this Court has jurisdiction and venue is proper. This Court has
jurisdiction over the state law claims herein pursuant to 28 U.S.C. § 1367. This matter
was previously dismissed without prejudice and the Honorable Judge Robert Dawson
directed that any further pleading related to the subject matter of this action shall be filed
herein.

2. That the Plaintiff, RECEIVABLES PURCHASING CO., INC., is, and at all
times mentioned herein, was a domestic Arkansas corporation with its principal place of
business being located in tbe Fort Smith District, Sebastian County, Arkansas.

3. That the Defendant, ENGINEERING AND PROFESSIONAL SERVICES,
INC., hereinafter referred to as “EPS” is, and at all times mentioned herein, was a foreign

corporation, incorporated under the laws of Dclaware and doing business in New Jersey.

 

 

 

 

 

 
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A substantial part of the events or omissions giving rise to the claim have occurred in this
district. Venuc is thus proper under 28 U.S.C. § 1391(b)(1), (2), and (3).

FACTS COMMON TO ALL CAUSES OF ACTION

 

4. On or about November 13, 2002, RIS UTILITY CONSTRUCTION, INC.,
hereinafter referred to as “RJS”, sold and assigned to the Plaintiff, in Fort Smith,
Arkansas, all of its right, title, and interest in and to certain invaiccs and accounts that
EPS owed to RJS, for services rendered. A copy of the Assignment of Accounts
Receivables to Receivables Purchasing Company, Inc, is attached hercto, marked
“Exhibit A”, and expressly incorporated hercin. A Security Agreement was also
executed and is attached hercto as Exhibit B and incorporated herein,

5. On or about July 13, 2003, RJS sold and assigned to the Plaintiff, in Fort
Smith, Arkansas, all of its right, title, and interest in and to certain payments that EPS

owed to RJS by delivering to the Plaintiff, in Fort Smith, Arkansas a Purchase and Sale

 

Agreement, A copy of the said Purchase and Sale Agreement is attached hereto, marked
“Exhibit C”, and expressly incorporated hercin.

6. Before the Plaintiff paid RJS for invoiccs owed by the Defendant, EPS, the
Plaintiff directly contacied the Defendant, EPS, to request verification of the accuracy,
validity, and truc amount owed by the Defendant, EPS, to RJS, on each invoice. And in
each instance, the Defendant, EPS, verified that each invoice from RJS, was accurate,
valid, and those amounts were actually owed by the Defendant, EPS, to RIJS.

7. The Plaintiff, notified the Defendant, EPS, of the purchase, assignment, and

sale in Fort Smith, Arkansas, of various invoices and accounts receivable that EPS owed

to RJS, to the Plaintiff; and Plaintiff, demanded that the Defendant, EPS, pay all such

 

 

 

 
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invoices in the future in full dircctly to the Plaintiff, in Fort Smith, Arkansas, or in Fort

Worth, Texas as directed by the Plaintiff.

FIRST CAUSE OF ACTION

BREACH OF CONTRACT & PROMISSORY ESTOPPEL

8. The Plaintiff re-alleges and adopts by reference all the allegations contained in
Paragraphs | through 7 above.

9, Defendant, EPS, has failed and refused to pay to the Plaintiff the amounts
owed to RJS, for invoices that had been sold and assigned to the Plaintiff.

10. The Defendant, EPS, has failed and refused to pay the sum of $300,859.50
owed to the Plaintiff for invoices the Defendant, EPS, owed to RJS, that had been
purchased by Plaintiff.

11. The Defendant made statements to the Plaintiff which the Plaintilf justifiably
relied upon in purchasing the accounts that are the subject of this action. These
statements reasonably caused the Plaintiff to believe that the work had been performed in
a manner satisfactory to the Defendant, and that the Defendant considered itself bound to
pay on the accounts, The Defendant kuew that the Plaintiff would rely upon such
statements. The Plaintiff did in fact rely upon such statements. As such, the Defendant is
barred from raising any defense, such as set-off, which runs contrary to the statements
relied upon by Plaintiff.

12. By reason of the Defondant’s continuing failure and refusal to pay what is
owed to the Plaintiff, the Plaintiff has been damaged in the following amounts:

a) the sum of $300,859.50 loss of principal owed;

 

 

 

 
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b) pre-judgment and post-judgment interest on the said sum of money; and,

¢) all its attomey’s fees and costs incurred in this litigation, and the events
leading up to this litigation

UNIFORM COMMERCIAL CODE

13. The Plaintiff rc-alleges and adopts by reference all the allegations contained
in Paragraphs |. through 12 above.

14, The transaction referred to hercin is for an assigned account or other
commercial paper subject to the Uniform Commercial Cade and also more specifically to
Ark. Stat. Arm. § 4-9-406.

15. The Defendant to this action was given proper notice that the Plaintiff had
been assigned the right to collect the debt and in fact, the Defendant confirmed to the
Plaintiff that the debt was good and payable prior to the Plaintiff purchasing the accounts.

16. The Defendant failed io make payment to the Plaintiff. For failure to make
payment to the Plaintiff and also for continuing to make payments to the assignor, the

Defendant is in violation of the Uniform Commercial Code and owes the amount of

$300,859.50 to the Plaintiff.

SECOND CAUSE OF ACTION
FRAUD

 

17. The Plaintiff re-alleges and adopts by reference all the allegations contained

in Paragraphs | through 16 above.

18. The Defendant, EPS, by and through its officers, agents, and employees,

represented to the Plaintiff, RECEIVABLES, in Fort Smith, Arkansas, that the invoices

 

 

 

 

 
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from RJS were accurate, valid, and those amouints were actually owed by the Defendant,
LPS, to RIS.

19. The Defendant, EPS, by and through its officers, agents, and employees,
represented to the Plaintiff, RECEIVABLES, in Fort Smith, Arkansas that the invoices
from RJS, were accurate, valid, and those amounts would actually be paid in a timely
manner by the Defendant, EPS, to the Plaintiff, RECEIVABLES, in Fort Smith,
Arkansas.

20. That the Defendant, EPS, either knew or believed that such representations
were false, or in the altcrnative, the Defendant knew or believed that it did not have
sufficient basis of information to make such representations.

21. That the Defendant, EPS, intended to induce the Plaintiff, RECEIVABLES,
in Fort Smith, Arkansas to act to purchase and pay for the said invoices from RJS, in
reliance upon the said misrepresentations.

22, That the Plaintiff, RECEIVABLES, justifiably relied in Fort Smith, Arkansas
upon the misrcpresentations of the Defendant, EPS, in purchasing the said invoices from
RIJS, and as a result sustained damages.

23. Asa direct and proximate result of Defendant’s conduct described above, the
Plaintiff, RECEIVABLES, has been damaged in the following amounts:

a) the sum of $300,859.50 in lass of principal owed: and

b) pre-judgment and post-judgment intcrest on the said sum of money.

24. The Defendant, EPS, knew or ought to have known, in light of the
sumounding circumstances, that its conduct would naturally and probably result in

damage and that it continued such conduct with malice or in reckless disregard of the

 

 

 

 

 
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consequences from which malice may be inferred, therefore the Plaintiff should be
awarded punitive damages in the sum of $300,000.00.

THIRD CAUSE OF ACTION

 

DECEPTIVE TRADE PRACTICES ACT

 

25. The Plaintiff re-alleges and adopts by reference all the allegations contained
in Paragraphs | through 24 above.

26. The Actions of the Defendant set out herein operate to violate the Arkansas
Deceptive Trade Practices Act Ark. State Ann. § 4-88-107, Such act, while primarily
drafied to protect consumers was also drafted to protect the “legitimate business
community” of Arkansas, from dishonest busincss practices by damestic and foreign
corporations. The Act allows for the action to be brought in any County where the
Plaintiff resides or conducts business.

27. ‘The acts complained of herein occurred in Fort Smith, Arkansas, and thc
Plaintiff was conducting business in Fort Smith, Arkansas, at the time these events
occurred,

28. The actions described hercin and above have been held by the Light
Circuit Court of Appcals to be arguably fraudulent. The Deceptive Trade Practices act
only requires that a Defendant acted in a “false” or “dishonest” manner. False and
dishonest create a lower burden of proof than fraud. The Defendant’s conduct describe
herein was false and dishonest and violated the Deceptive Trade Practices Act.

29. The Defendant’s violation of the Deceptive Tradc Practices Act has

damaged the Plaintiff in an amount exceeding $300,859.50.

30. The Defendant should also be subjected to a civil penalty for the acts

 

 

 
 

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complained of herein pursuant to Ark. Stat. Ann. §4-88-203.

PLAINTIFF DEMANDS A TRIAL BY JURY.

WHEREFORE, the Plaintiff, RECEIVABLES, respectfully prays for judgment
against the Defendant, EPS, for actual, compensatory damages in the sum of $300,859.50. °
for the loss of principal owed to the Plaintiff: for pre-judgment and past-judgment
interest on the said sum of money; for all its attorncy’s fees and costs incurred in this
litigation, and the events leading up to this litigation; for punitive damages in the sum of
$300,000; an amount exceeding $300,859.50 for violation of the Deceptive ‘Trade
Practices Act, for civil penalty; and for such other and further relicf as Plaintiff may
toquest,

Respectfully submitted,

RECLIVABLES PURCHASING
COMPANY, INC.

Bill Walters

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